Case 2:17-cr-00661-DI\/|G Document 7 Filed 10/18/17 Page 1 of 1 Page |D #:46

   

       
  
    
 
 
   

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

UNITED sTATEs oF AMERICA, cAsE NUMBER
PLAINTIFF t
cR . » , , ,
V. W?C§?@@éél"%l
JULIAN OMIDL et al" NoTICE To CoURT oF
DEFENDANT<S) RELATED CRIMINAL CAsE
(PURsUANT To GENERAL oRDER 14-03)

 

 

Plaintiff United States of America hereby informs the Court that the above-entitled
criminal case may be related to United States v. Charles Klaskv, Case No. CR l7-0040l-DMG,
Which:

__*)_{*_ Was previously assigned to the Honorable Dolly M. Gee;

has not been previously assigned
The above-entitled cases may be related for the following reasons:

X the cases arise out of the same conspiracy, common scheme, transaction,
series of transactions or events g

 

the cases involve one or more defendants in common and Would entail
substantial duplication of labor in pretrial, trial or sentencing proceedings if
heard by different judges

Additional eXplanation‘(if any): , _
Dar@d; october 17, 2017 M
’ TEN A. WiLLiAi\/is
Ass stant Um`ted States Attorney

 

